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                                                                                                    E-FILED 11/30/16
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                                            6
                                                Attorneys for Receiver
                                            7   Robert P. Mosier
                                            8
                                                                                UNITED STATES DISTRICT COURT
                                            9
                                                                            CENTRAL DISTRICT OF CALIFORNIA
                                           10
601 SOUTH FIGUEROA STREET , SUITE 2500
 LOS ANGELES , CALIFORNIA 90017-5704




                                                SECURITIES AND EXCHANGE                       CASE NO. 09-CV-2901 PSG (EX)
                                           11
                                                COMMISSION,                                   Assigned to: Hon. Philip S. Gutierrez
         DENTONS US LLP




                                           12
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                                                                  Plaintiff,                  [PROPOSED] ORDER:
                                           13                                                 (1) APPROVING FINAL ACCOUNT
                                                         v.
                                           14                                                 AND REPORT; (2) APPROVING
                                                PRIVATE EQUITY MANAGEMENT                     FEES AND COSTS; (3) APPROVING
                                           15                                                 WIND UP TASKS, TRANSFERS,
                                                GROUP, LLC; PRIVATE EQUITY
                                           16   MANAGEMENT GROUP, INC.;                       AND FINAL DISTRIBUTION;
                                                AND DANNY PANG,                               (4) DISCHARGING RECEIVER;
                                           17                                                 (5) RELIEVING RECEIVER OF
                                                                  Defendants.                 ALL DUTIES AND LIABILITIES;
                                           18
                                                                                              (6) CONFIRMING RECEIVER’S
                                           19                                                 CONTROL OVER CERTAIN 401(K)
                                           20                                                 PROCEEDS; (7) APPROVING
                                                                                              NOTICE UNDER LOCAL RULE
                                           21                                                 66-7; AND (8) FOR RELATED
                                           22                                                 RELIEF
                                           23                                                 [Filed concurrently with Final Account
                                                                                              and Report; Notice of Motion and
                                           24                                                 Motion; Memorandum of Points and
                                           25                                                 Authorities; Declarations of Robert P.
                                                                                              Mosier and Nick S. Pujji]
                                           26
                                                                                              DATE:        December 19, 2016
                                           27                                                 TIME:        1:30 p.m.
                                           28                                                 PLACE:       Courtroom 880-Roybal

                                                                                                                         [PROPOSED] ORDER -
                                                                                                                  CASE NO. 09-CV-2901 PSG (EX)
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                                            1            The matter of the Motion for Order: (1) Approving Final Account and
                                            2   Report; (2) Approving Fees and Costs; (3) Approving Wind Up Tasks, Transfers,
                                            3   and Final Distribution; (4) Discharging Receiver; (5) Relieving Receiver of All
                                            4   Duties and Liabilities; (6) Confirming Receiver’s Control Over Certain 401(K)
                                            5   Proceeds; (7) Approving Notice Under Local Rule 66-7; and (8) for Related Relief
                                            6   (the “Motion”) filed by Receiver Robert P. Mosier (the “Receiver”), the Court-
                                            7   appointed permanent receiver of Private Equity Management Group, Inc., Private
                                            8   Equity Management Group, LLC, and their subsidiaries and affiliates (collectively,
                                            9   “PEMGroup” or the “Receivership Estate”) came on regularly for hearing before
                                           10   the Court at the above-referenced date, time and place, before the Honorable
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 LOS ANGELES , CALIFORNIA 90017-5704




                                           11   Philip S. Gutierrez, United States District Judge. The Court, having reviewed and
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                                           12   considered the Motion, all pleadings and papers submitted in support thereof, and
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                                           13   opposition, if any, to the Motion, and having heard the arguments of counsel, and
                                           14   good cause appearing therefor,
                                           15            IT IS ORDERED that:
                                           16            1.       The Motion and the relief sought therein is hereby granted in its
                                           17   entirety.
                                           18            2.       Final Account and Report. The Receiver’s Final Account and
                                           19   Report, which is attached at Exhibit 1 to the Memorandum of Points and
                                           20   Authorities in support of the Motion is hereby approved. All actions and activities
                                           21   taken by or on behalf of the Receiver and all payments made by the Receiver in
                                           22   connection with the administration of the Receivership Estate are hereby confirmed
                                           23   and approved.
                                           24            3.       Fees and Expenses. All administrative expenses and Receiver’s,
                                           25   professionals’, and counsel’s fees and expenses to be incurred during the period
                                           26   October 1, 2016 through the closing of the Receivership Estate and the discharge of
                                           27   the Receiver (“Final Expense Period”), described and estimated in the Final
                                           28   Account and Report Motion, are hereby allowed, approved, and authorized to be
                                                                                             -1-
                                                                                                                            [PROPOSED] ORDER -
                                                                                                                     CASE NO. 09-CV-2901 PSG (EX)
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                                            1   paid from assets of the Receivership Estate. For the period October 1, 2016
                                            2   through the closing of the Receivership Estate and the discharge of the Receiver, at
                                            3   his discretion, the Receiver is allowed, approved, and authorized to pay fees and
                                            4   expenses to the following parties, barring any unforeseen circumstances, not to
                                            5   exceed the following amounts: $75,000 to the Receiver; $60,000 to Dentons US
                                            6   LLP; and $30,000 to other professionals and expenses.
                                            7            4.       Final Distribution. The Receiver is hereby approved and authorized
                                            8   to distribute all assets of the Receivership Estate remaining after payment of all
                                            9   administrative expenses, including all fees and expenses of the Receiver and the
                                           10   Receiver’s professionals incurred through the closing of the Receivership Estate,
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                                           11   and expenses associated with the storage of books and records, to the Investor
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                                           12   Claimants1 of PEMGroup, in amounts that are consistent with the projected
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                                           13   allocations and calculations in Exhibit E to the Final Account and Report.
                                           14            5.       Transfer of Assets. The Receiver is hereby approved and authorized
                                           15   to assign the Receivership Estate’s interest in the Russian Angel investment directly
                                           16   to Investor Claimant KGI Bank (55.1%) and EnTie Bank (44.9%), and assign the
                                           17   Receivership Estate’s interest in the Frontier Oceana investment directly to Investor
                                           18   Claimant Standard Chartered Bank (Taiwan). Following the close of the
                                           19   Receivership Estate, all or some of the Investor Claimants are hereby permitted to
                                           20   retain Mosier & Company, Inc. and/or Dentons US LLP directly to oversee these
                                           21   assets.
                                           22            6.       Assignment of Litigation Settlements. The Receiver is hereby
                                           23   approved and authorized to assign pending litigation settlements to an escrow
                                           24   agent, which, at the Receiver’s discretion, may include pending settlements with
                                           25
                                                1
                                           26
                                                      The Investor Claimants include: Hua Nan Commercial Bank, Ltd.; Hua Nan
                                                Investment Trust Co.; Standard Chartered Bank (Taiwan), Ltd.; Bank SinoPac;
                                           27   Taichung Commercial Bank; EnTie Commercial Bank; KGI Bank (formerly
                                           28
                                                Cosmos Bank Taiwan); Core Tech Resources, Inc., and a group of 42 individual
                                                investors residing in Taiwan.
                                                                                            -2-
                                                                                                                         [PROPOSED] ORDER -
                                                                                                                  CASE NO. 09-CV-2901 PSG (EX)
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                                            1   William Knudson, of former PEMGroup trustee Daily & Knudson, Nasar
                                            2   Aboubakare, and Todd Gillespie, to allow these settlements to be collected and
                                            3   enforced in full. Following the close of the Receivership Estate, all or some of the
                                            4   Investor Claimants are hereby permitted to retain Mosier & Company, Inc. and/or
                                            5   Dentons US LLP directly to oversee these litigation settlements.
                                            6            7.       Transfer of Licenses. The Receiver is hereby approved and
                                            7   authorized to transfer all rights and licenses, including any electronic or software
                                            8   licenses held by PEMGroup and/or the Receivership Estate to the Investor
                                            9   Claimants.
                                           10            8.       Documents and Records. The Receiver is hereby approved and
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                                           11   authorized to, at his discretion, abandon, destroy, store and/or transfer all
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                                           12   PEMGroup documents, records, and computers, and to provide access to such
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                                           13   documents, records, and computers to the Investor Claimants or other parties.
                                           14            9.       401(k) Plan Account. For good cause shown, the Court hereby
                                           15   confirms and authorizes the Receiver to take possession and control of the funds
                                           16   held in the PEMGroup 401(k) plan accounts for Leon Chan (Lian H. Chan) and Wu
                                           17   Wei. These funds will be held by the Receivership Estate until they are distributed
                                           18   in accordance with the terms of this Order. The Plan Administrator for the
                                           19   PEMGroup 401(k) plan accounts for Leon Chan and Wu Wei is hereby ordered to
                                           20   transfer all proceeds held in these accounts to the Receiver, and take all necessary
                                           21   action to comply with the terms of this Order. The Receiver is further authorized,
                                           22   at his discretion, to terminate and close the PEMGroup 401(k) plan and any other
                                           23   employee benefits plans associated with PEMGroup.
                                           24            10.      Discharge of Receiver. Effective upon completion of the
                                           25   administration of the Receivership Estate and distribution of remaining funds in the
                                           26   Receiver’s possession and control, the Receiver, his agents, employees, members,
                                           27   officers, independent contractors, attorneys and representatives are: (i) discharged;
                                           28   (ii) released from all claims and liabilities arising out of and/or pertaining to the
                                                                                           -3-
                                                                                                                           [PROPOSED] ORDER -
                                                                                                                    CASE NO. 09-CV-2901 PSG (EX)
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                                            1   Receivership herein; (iii) relieved of all duties and responsibilities pertaining to the
                                            2   Receivership previously established in this action; and (iv) discharged and relieved
                                            3   of all duties as the trustee for any trusts associated with PEMGroup.
                                            4            11.      Termination and Dissolution of PEMGroup Entities and Trusts.
                                            5   All PEMGroup entities and trusts listed on Exhibit A hereto are hereby terminated,
                                            6   closed, and dissolved effective 90 calendar days after the date of this Order.
                                            7            12.      Release. Neither the Receiver nor any agent, employee, member,
                                            8   officer, independent contractor, attorney or representative of the Receiver shall
                                            9   have any liability to any person or entity for any action taken in good faith in
                                           10   connection with carrying out the Receiver’s administration of this Receivership
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                                           11   Estate, including serving as the trustee for trusts associated with PEMGroup, and
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                                           12   the exercise of any powers, duties and responsibilities in connection therewith.
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                                           13            13.      Jurisdiction. This Court shall retain jurisdiction over any and all
                                           14   matters relating to the Receiver and the Receivership Estate, including any matters
                                           15   relating to the distribution of funds received by the Receiver in connection with his
                                           16   obligations as Receiver or otherwise received after the Receivership is closed, and
                                           17   to the extent any dispute arises concerning the Receiver’s administration of the
                                           18   Receivership Estate or to the extent any person or entity seeks to pursue or assert
                                           19   any claim or action against the Receiver or any agent, employee, member, officer,
                                           20   independent contractor, attorney or representative of the Receiver, arising out of or
                                           21   related to this Receivership, the Court shall retain jurisdiction to hear and resolve
                                           22   any such dispute or claim.
                                           23   ///
                                           24   ///
                                           25   ///
                                           26   ///
                                           27   ///
                                           28   ///
                                                                                              -4-
                                                                                                                             [PROPOSED] ORDER -
                                                                                                                      CASE NO. 09-CV-2901 PSG (EX)
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                                            1            14.      Notice Approved. Notice of the hearing on the Motion under Local
                                            2   Rule 66-7 is hereby deemed sufficient and approved if completed as described in
                                            3   the Motion, timely served on the parties to the action and known potentially
                                            4   interested parties, including Investor and Non-Investor Claimants, and with at least
                                            5   50 days of notice prior to the hearing on this Motion.
                                            6

                                            7   IT IS SO ORDERED.
                                            8
                                                         11/30/16
                                                Dated:_____________________
                                            9                                                 _________________________________
                                                                                              HON. PHILIP S. GUTIERREZ
                                           10
601 SOUTH FIGUEROA STREET , SUITE 2500




                                                                                              UNITED STATES DISTRICT JUDGE
 LOS ANGELES , CALIFORNIA 90017-5704




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                                                                                                                        [PROPOSED] ORDER -
                                                                                                                 CASE NO. 09-CV-2901 PSG (EX)
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